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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-22974-CIV-MORENO
DIANE FISHER,

Plaintiff,

VS.

PNC Bank N.A., and PNC INVESTMENTS,
LLC,

Defendants.
/

 

ORDER OF REFERRAL TO MAGISTRATE JUDGE LOUIS
FOR ALL PRETRIAL PROCEEDINGS

THIS CAUSE came before the Court upon a sua sponte review of the record.

PURSUANT to 28 U.S.C. § 636 and the Magistrate Judge Rules of the United States
District Court for the Southern District of Florida, the above-captioned action is referred to
United States Magistrate Judge Lauren F. Louis to take all necessary and proper action as
required by law, with respect to any and all pretrial matters. Pursuant to Magistrate Judge
Rule 1(C), the Magistrate Judge need not submit a Report and Recommendation to this Court for
disposition of non-dispositive motions which have been referred.

Any applications for extension or modification of pretrial deadlines or the trial date shall
be made to the District J udge.

It shall be the responsibility of the respective parties in this case to note on all motions
and submissions pertaining to the referenced matters the name of the assigned Magistrate Judge
Lauren F. Louis. Le

DONE AND ORDERED in Chambers at Miami, Florida, this / ? of December
2018. ,

 

UNITED STATES DISTRICT JUDGE

 
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Copies furnished to:
United States Magistrate Lauren F. Louis

Counsel of Record

 
